     Case 2:14-cr-00331-MMD-VCF        Document 43       Filed 06/03/15   Page 1 of 1




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6                               UNITED STATES DISTRICT COURT
7                                       DISTRICT OF NEVADA
8                                                 ***
9      UNITED STATES OF AMERICA,                       Case No. 2:14-cr-00331-MMD-VCF
10                                        Plaintiff,                  ORDER
             v.
11
       OMAR ULYSSES JIMINEZ and ANTONIO
12     MONTES-RUIZ,
13                                     Defendants.
14

15           Defendant Omar Ulysses Jiminez, who is represented by counsel, has filed a

16     letter with the Court. (Dkt. no. 41.) Pursuant to Local Rule IA 10-6, a party who is

17     represented by counsel may not appear or act in the case. The Court will not take any

18     action in response to Defendant’s letter. However, Defendant’s counsel is directed to

19     meet and confer with his client to determine if there is any reason why counsel believes

20     he would not be able to meaningfully represent Defendant further in this case, or file a

21     motion to withdraw if needed.

22           DATED THIS 3rd day of June 2015.

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24                                                       MIRANDA M. DU
                                                         UNITED STATES DISTRICT JUDGE
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